Case 3:21-cv-04370-TAD-KDM Document 129 Filed 09/21/22 Page 1 of 2 PageID #: 24514




                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


   STATE OF LOUISIANA ET AL                              CASE NO. 3:21-CV-04370 LEAD

   VERSUS                                                JUDGE TERRY A. DOUGHTY

   XAVIER BECERRA ET AL                                  MAG. JUDGE KAYLA D. MCCLUSKY

                                             JUDGMENT

          For the reasons set forth in the Memorandum Ruling,

          IT IS ORDERED, ADJUDGED, AND DECREED that Plaintiff States’ Cross Motion

   for Summary Judgment [Doc. No. 100] is GRANTED. Additionally, Brick’s Motion for

   Summary Judgment [Doc. No. 105] is GRANTED.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Motion to

   Dismiss, or in the Alternative, Motions for Summary Judgment [Doc. No. 65 and Doc. No. 35 in

   Member case No. 2:21-cv-4396] filed by Agency Defendants are DENIED.

          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the United States

   Department of Health and Human Resources, the Administration for Children and Families, and

   the Office of Head Start, along with their Secretary, directors, administrators, and employees are

   hereby ENJOINED and RESTRAINED from implementing the Head Start Mandate as set forth

   in 86 Fed. Reg. 68052 (November 30, 2021), as to all Head Start staff, volunteers, contractors,

   students, and all others covered by said Head Start Mandate.

          IT IS FURTHER ORDERED that the geographic scope of the Permanent Injunction

   will be limited to the twenty-four Plaintiff States, Louisiana, Alabama, Alaska, Arizona,

   Arkansas, Florida, Georgia, Indiana, Iowa, Kansas, Kentucky, Mississippi, Missouri, Montana,
Case 3:21-cv-04370-TAD-KDM Document 129 Filed 09/21/22 Page 2 of 2 PageID #: 24515




   Nebraska, North Dakota, Ohio, Oklahoma, South Carolina, South Dakota, Tennessee, Utah,

   West Virginia, and Wyoming.

          IT IS FURTHER ORDERED that this Permanent Injunction order shall remain in

   effect pending the final resolution of this case, or until further orders from this Court, the United

   States Court of Appeals for the Fifth Circuit, or the Supreme Court of the United States.

          IT IS FURTHER ORDERED that there is an absence of any issue of disputed fact as to

   the issues addressed. Therefore, no hearing is required. Kaepa, Inc., 76 F.3d at 628.

          IT IS FURTHER ORDERED that no security bond shall be required under Federal

   Rule of Civil Procedure 65.

          MONROE, LOUISIANA, this 21st day of September 2022.



                                                          ____________________________________
                                                          TERRY A. DOUGHTY
                                                          UNITED STATES DISTRICT JUDGE
